      Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 1 of 28




                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION
                                      §
DIANA ZUNIGA, Individually, as §
Heir at Law, and as Representative of §
the Estate of DANIEL ZUNIGA JR., §
Deceased.                             §
                                      §
MARTHA ZUNIGA, As Natural §
Mother       and    Wrongful  Death §
Beneficiary of DANIEL ZUNIGA JR., §
Deceased,                             §
                                      §
ANCIETO ZUNIGA-FELAN, As §
Natural Child and Wrongful Death §
Beneficiary of DANIEL ZUNIGA JR., §
Deceased,                             §
                                      §            1:22-cv-559
                                         CASE NO.________________
MARCI WILLIAMS As Natural §
Child      and     Wrongful   Death §
Beneficiary of DANIEL ZUNIGA JR., §
Deceased,                             §
                                      §
   Plaintiffs.                        §
                                      §
v.                                    §
                                      §
COUNTY OF BASTROP,                    §
BASTROP COUNTY SHERIFF’S, §
and SHERIFF MAURICE COOK,             §
   Defendants.                        §


               PLAINTIFFS’ ORIGINAL COMPLAINT




                               Page 1 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 2 of 28




     Plaintiffs, DIANA ZUNIGA, MARTHA ZUNIGA, ANCIET ZUNIGA-

FELAN and MARCI WILLIAMS, (hereinafter “Plaintiffs”), by and through

undersigned counsel, come before this Court to assert the following factual

allegations and causes of action against Defendants COUNTY OF BASTROP,

BASTROP COUNTY SHERIFF’S OFFICE and SHERIFF MAURICE COOK.

                               I.   PARTIES

1.   MARTHA ZUNIGA, (“Plaintiff Martha”) is a citizen of the United States of

     America, resides in Harris County, Texas and is the mother of Daniel Zuniga,

     Jr. She brings this claim in her individual capacity as a statutory wrongful

     death beneficiary and as an heir to the Estate of Daniel Zuniga, Jr. pursuant to

     Texas Civil Practices and Remedies Code §§ 71.002 et. seq. and § 71.021.

2.   DIANA ZUNIGA, (“Plaintiff Diana”) is a citizen of the United States of

     America, resides in Bastrop County, Texas and is the widow of Daniel Zuniga,

     Jr. She brings this claim in her individual capacity as a statutory wrongful

     death beneficiary and as an heir to the Estate of Daniel Zuniga, Jr. pursuant to

     Texas Civil Practices and Remedies Code §§ 71.002 et. seq. and § 71.021.

3.   MARCI WILLIAMS, (“Plaintiff Marci”) is a citizen of the United States of

     America, resides in Bastrop County, Texas and is the natural child of Daniel

     Zuniga, Jr. She brings this claim in her individual capacity as a statutory

     wrongful death beneficiary and as an heir to the Estate of Daniel Zuniga, Jr.


                                    Page 2 of 28
       Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 3 of 28




     pursuant to Texas Civil Practices and Remedies Code §§ 71.002 et. seq. and

     § 71.021.

4.   ANCIETO ZUNIGA-FELAN, (“Plaintiff Ancieto”) is a citizen of the United

     States of America, resides in Bastrop County, Texas and is the natural child

     of Daniel Zuniga, Jr. He brings this claim in his individual capacity as a

     statutory wrongful death beneficiary and as an heir to the Estate of Daniel

     Zuniga, Jr. pursuant to Texas Civil Practices and Remedies Code §§ 71.002

     et. seq. and § 71.021.

5.   Defendant COUNTY OF BASTROP is a legal government entity as defined

     in TEX. GOV. CODE § 554.001. It is located within the boundaries of the Austin

     Division of the Western District of Texas. It may be served with citation as

     follows:

                          COUNTY OF BASTROP
                     c/o PAUL PAPE, COUNTY JUDGE
                           804 PECAN STREET
                           BASTROP, TX 78602

6.   Defendant BASTROP COUNTY SHERRIF’S OFFICE is a legal government

     entity as defined in TEX. GOV. CODE § 554.001. It is located within the

     boundaries of the Austin Division of the Western District of Texas. It may be

     served with citation as follows:

                 BASTROP COUNTY SHERIFF’S OFFICE
                    c/o MAURICE COOK, SHERIFF
                        200 JACKSON STREET,

                                    Page 3 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 4 of 28




                               BASTROP, TX 78602

7.    Sheriff Maurice Cook was the Sheriff of Bastrop County during the events

      that form the basis of this suit. At all relevant times, he was acting under color

      of law. He may be served with citation as follows:

                           MAURICE COOK, SHERIFF
                            200 JACKSON STREET,
                              BASTROP, TX 78602


                     II.    MISNOMER/ALTER EGO

8.    In the event any parties are misnamed or are not included herein, Plaintiff

      contends that such was a “misidentification,” “misnomer,” and/or such parties

      are/were “alter egos” of parties named herein.



                  III.     JURISDICTION AND VENUE


9.    This Court has subject matter jurisdiction over this lawsuit. Plaintiffs’ claims

      involve the violations of 42 U.S.C. §1983, the Americans with Disabilities

      Act, the Eighth Amendment and the Fourteenth Amendment. The amount in

      controversy is within this Court’s jurisdictional limit.

10.   This Court has personal jurisdiction over the parties. All the parties are either

      individuals or government entities of the State of Texas, have sufficient

      minimum contacts with the State of Texas, and/or have purposefully availed


                                      Page 4 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 5 of 28




      themselves of the laws and markets of the State of Texas so as to not offend

      traditional notions of fair play and substantial justice.

11.   This Court is the proper venue to hear this lawsuit pursuant to 28 U.S.C.

      §1331, as Plaintiffs are alleging violations to the Decedent’s rights under the

      8th and 14th Amendments to the U.S. Constitution against Defendant by their

      failing to give adequate medical attention to and withholding lifesaving and

      necessary prescribed medications from the Decedent, Daniel Zuniga Jr. Such

      a violation additionally constitutes a claim under 42 U.S.C. §1983 as it was

      undertaken while the Decedent was in the care or control of Defendant, agent

      of the State of Texas. The failure to provide the Decedent with medical care

      to manage his lifelong disabilities constitutes a violation of the Americans

      with Disabilities Act. Finally, as these violations to the Decedent’s rights were

      a result of the insufficient training of the medical officers named in this

      complaint, Plaintiffs invoke the Monell Doctrine.

12.   This Court has specific in personam jurisdiction over Defendant because this

      case arises out of conduct by Defendant that injured the Decedent, and which

      occurred in Bastrop County, Texas, which is within the Western District of

      Texas.

13.   Venue of this cause is proper in the Western District pursuant to 28 U.S.C. §

      1391(b)(1) because a substantial portion of the events or omissions giving rise


                                      Page 5 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 6 of 28




      to Plaintiffs’ claims occurred in Bastrop County, which is within the Western

      District of Texas.

                               IV.    FACTS

                     INTRODUCTION & BACKGROUND

                             “I CAN”T BREATHE”

14.   “I Can’t Breathe” is a gut-wrenching phrase that has surfaced in news reports

      again and again in recent years, and has become the slogan of a movement for

      law enforcement reform across America. The events giving rise to this lawsuit

      revolve around just that – an inmate of Bastrop County Jail suffering from a

      life-long respiratory disease being denied basic medical treatment to the point

      he eventually died in-custody at only 38 years old. One of his final

      communications with the jail read, “Nasal saline please…I can’t breathe”.

      This lawsuit seeks to uncover the indifference and lack of care for Mr.

      Zuniga’s medical disabilities that led to him essentially being killed by a long

      torture of 67-day-long suffocation at the hands of Bastrop County jailers.

15.   The Decedent, Daniel Zuniga Jr., was a survivor of serious lifelong medical

      disabilities. He had official diagnoses of: Type 2 Diabetes, Gastroesophageal

      Reflux Disease (GERD), Wegner’s Granulomatosis (now known as

      Granulomatosis with polyangiitis), Pancreatitis and Asthma. In order to fully

      understand how egregiously Defendant Bastrop County erred in their refusal


                                     Page 6 of 28
            Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 7 of 28




        to cooperate with Daniel’s physician prescribed medical treatments, one must

        first understand the nature of his disabilities.1

16.     Wegener’s Granulomatosis (recently re-named as Granulomatosis with

        polyangiitis) is a very rare, potentially deadly disorder that causes

        inflammation of the blood vessels in the patient’s nose, sinuses, throat, lungs,

        and kidneys. In general, irritation and inflammation of the nose is the first sign

        in most patients and persists as the most common symptom regardless of

        severity. Those afflicted with Wegener’s may have the ailment due to a

        genetic association, although it can also develop due to bacterial or viral

        infections.

17.     Treatment and management of Granulomatosis can be broken down into

        severe       (requiring        immediate          intervention,        usually   surgical)   and

        maintenance—treatment measures for which would include nasal irrigation,

        nasal corticosteroids, and antibiotics if infection occurs. Duration of

        maintenance therapy is usually 12-36 months after remission has been

        induced. In patients who are at high risk of relapse, maintenance therapy is

        continued indefinitely. Daniel was considered high-risk due to his other

        disabilities, especially his diagnoses of Asthma and Type II Diabetes. 2


1
  National Library of Medicine, Granulomatosis with Polyangiitis, (Dec. 7, 2021)
https://www.ncbi.nlm.nih.gov/books/NBK557827/ (last visited June 3, 2022).
2
  National Library of Medicine, Granulomatosis with Polyangiitis, (Dec. 7, 2021)
https://www.ncbi.nlm.nih.gov/books/NBK557827/ (last visited June 3, 2022).


                                                  Page 7 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 8 of 28




18.   In 2010, Daniel underwent a surgical procedure to widen his airway,

      conducted by Dr. Jeremy Sebastian. There were complications, and he was in

      a coma for three days. In 2012 Daniel went to Dr. Blake Simpson of UT

      Health San Antonio to reconstruct his entire airway. Dr. Simpson decided on

      a less invasive measure: scraping Daniel’s esophagus to rid him of the fungus

      that had formed there and to widen his airway. Afterwards, Daniel managed

      his condition with regular saline rinses to keep his airways clear in addition to

      annual esophageal scrapings done by Dr. Simpson.

19.   When Daniel was arrested in 2019, he’d been maintaining his condition for

      years. He was intimately familiar with what he needed to stay alive, and his

      medical history was known by Bastrop County Jail (who had a letter written

      by Miriam Nnabulhe, FNP detailing his numerous disabilities.) (See Exhibit

      A, pg. 97).

                 DETAINMENT & MEDICAL TREATMENT

20.   Daniel was detained and in-processed by Bastrop County Jail for credit card

      abuse on July 31, 2019. The next day, Daniel had his medical intake. Medical

      Officer Sheri Amman noted “[i]nmate states that he needs to do a saline rinse

      daily for sinuses. ROI [Release of Information] signed and faxed to walgreens

      and bluebonnet trails, states that’s where he gets his medications.” His regular

      physicians are listed as Dr. Edith of Bluebonnet Trails for “asthma and


                                     Page 8 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 9 of 28




      disability” as well as Dr. Simpson for Wegener’s Disease. (See Exhibit A,

      pg. 85).

21.   Despite the fact that Bastrop County Jail and its employees had actual, written

      knowledge of Daniel’s medical disabilities, they failed to administer simple

      medical treatments that would have saved his life.

22.   Witnessing that the jail was not providing medical treatment to her husband,

      Diana Zuniga went to the jail herself to try to bring saline rinses (which are

      not controlled substances) in order to keep Daniel’s airways clear and allow

      him to breath. Nevertheless, a jail doctor, Dr. Wi-Ann Lin, Charted,

      “Physician does not appreciate inmate telling a different story, trying to shift

      the blame unto the Medical Department for not having his saline.” (See

      Exhibit A, pg. 76). This was on August 7, 2019, less than a week since

      Daniel’s intake appointment.

23.   The attitudes of the Medical Officers did not improve. They continued to deny

      Daniel his saline treatment, and on August 12, he frantically wrote “I am not

      doing to [sic] well without doing my dr recommended nasal saline twice a

      day… PLEASE DON’T IGNORE THIS ANY LONGER… IT IS VERY

      IMPORTAT [sic] TO MY DAILY LIFESTYLE AND WELLBEING.” (See

      Exhibit A, pg. 78). The next day he was taken to the medical center because

      he was unable to breathe. Daniel told the Medical Officers “I’ve been trying


                                     Page 9 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 10 of 28




      to tell y’all for two weeks I needed my nasal saline and y’all haven’t done

      anything.” (See Exhibit A, pg. 76). Nurse Rose Warren states in the medical

      notes that Daniel “tearfully stating he needs his [nasal saline] that he makes at

      home and can’t understand why they wouldn’t let his wife give it to Medical.”

      (See Exhibit A, pg. 76).

24.   Several options were given to Medical Officers to accommodate Daniel.

      Plaintiff Diana offered to order the nasal saline directly from the manufacturer

      and have it shipped directly to the jail—yet she did not receive any assistance.

      Daniel himself suggested both Plaintiff Diana’s mixture be brought in and

      asked Medical Officers to mix the solution themselves—a simple recipe of

      salt mixed with baking soda and water. There is no reasonable excuse for a

      jail to refuse salt and baking soda as a life-saving remedy to a respiratory

      ailment patient.

25.   According to the Bastrop County Sheriff’s Office Health Services Plan, as

      regulated by the Texas Commission on Jail Standards Chapter 273, Section

      VI on the Control of Medication: there are only provisions for prescription

      medication. Non-controlled substances, such as Daniel’s nasal saline wash,

      are not mentioned at all (See Exhibit B, pg. 2).

26.   On August 19, 2019, Daniel asked Medical Officers to help him “order nasal

      saline bottle and pre mixed solution packets kit from Dr Neil online to have it


                                     Page 10 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 11 of 28




      delivered to the jail by the manufacture.” (See Exhibit A, pg. 74). He

      continued to beg for medically adequate treatment, saying “I’ve had 5 nasal

      surgeries due to my nose being broken several times… I have no natural post

      nasal drip… I have to rinse… please, please, please… its very important to

      my daily life and wellbeing.” (See Exhibit A, pg. 74).

27.   Plaintiff Diana, in fear of her husband’s life, acquired the correct solution for

      Daniel’s treatments and personally brought it to the jail on August 30, 2019.

      She was turned away by Medical Officer Julia Duran because it was ‘not pre-

      approved’ by Dr. Lin (See Exhibit A, pg. 66).

28.   The next day, Daniel told Ms. Duran “I don’t appreciate how you treated my

      wife yesterday when she tried to deliver my new squeeze bottle for my

      premixed packets of nasal wash saline,” (See Exhibit A, pg. 65) to which she

      cited the medication not being approved. Duran’s heartless reply was: “I’m

      not here to argue with you, this is for inmates who need medical. If you just

      want to complain you can put in a grievance.” (See Exhibit A, pg. 64).

29.   On September 5, Daniel begs again for treatment: “Im not going to be difficult

      but I still need my saline packets and bottle please… I cant instill to yall how

      important this is to me… plz help.” (See Exhibit A, pg. 62). The Medical

      Officer replied that his saline packets and bottle have to be mail ordered and

      cannot be dropped off by family members. Both Daniel and Plaintiff Diana


                                     Page 11 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 12 of 28




      asked multiple times for assistance in ordering the medication directly from

      the manufacturer. No one was willing to help them.

30.   On September 9, Daniel was finally allowed his nasal treatment, but under the

      condition that he would only be allowed his medical treatment if he was put

      into isolation, unable to speak to his wife or kids. Diana recalls that Daniel

      was petrified that, if he was in isolation, he would have an episode while alone

      and be unable to call for help. Daniel was afraid he would die.

31.   On May 9, 2020, Daniel purchased an ineffective nasal spray from

      commissary, desperately looking for for any form of relief because he could

      not breathe. Again, in order to use the necessary medical treatment, he was

      put into lockdown and isolation. Again, he was afraid for his life. He called

      his wife in tears, terrified of what might happen if he stopped treatment, but

      more afraid of dying while in isolation. Plaintiff Diana called the jail on May

      22 to intercede on Daniel’s behalf. She pleaded with them to be allowed to

      bring him his regular nasal saline. Dr. Lin wrote that Daniel “needs to request

      saline rinse by writing medical request via Kiosk, and he will need to stay in

      lockdown due to all the equipment used for saline rinse.” (See Exhibit A, pg.

      24). Daniel’s legitimate fear of dying alone was not addressed. There was not

      even an attempt to compromise for the sake of his medically prescribed

      treatment.


                                    Page 12 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 13 of 28




32.   This is when perceived retaliation against Daniel for his medical treatments

      began. On May 28, 2020, Daniel was passed over for a ‘trusty’ position (the

      ‘trusty system’ was a penitentiary system of discipline and security in which

      designated    inmates       were    given     various   privileges,   abilities,   and

      responsibilities not available to all inmates.) (See Exhibit A, pg. 21). Medical

      Officer Olivia Harpos said that Daniel was “not cleared for trusty work due

      to, too many medical complaints.” (See Exhibit A, pg. 22). This was repeated

      by Medical Officer Rosa Warren on June 3, 2020 (See Exhibit A, pg. 16).

                                          DEATH

33.   At approximately 10:30 A.M. on June 10, 2020, a call of distress came from

      Daniel’s block, MO-10. Daniel couldn’t breathe. Trying desperately for any

      help, he took a shower hoping that would clear his airways. Another inmate,

      Frank Raasch, saw that Daniel was in a dire medical emergency and helped

      him get dressed, then began banging on the window desperately trying to get

      the attention of jailers.

34.   Correctional officers arrived at around 10:36 A.M. to take Daniel to the

      infirmary for treatment. He was described as “awake and responsive, but was

      not answering questions.” He was given a breathing treatment for his asthma,

      and Medical Officer Julia Duran “stated she heard [Daniel] from her office

      having trouble breathing and when she looked toward him, she saw he was


                                         Page 13 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 14 of 28




      pale and sweating.” Supervising Medical Officer Mark White instructed

      Duran to put an oxygen mask on Daniel. White had already told the

      correctional officers that Zuniga needed to go to the hospital, but White was

      trying to stabilize Daniel prior to being transported. Daniel was in the Medical

      Office for approximately 15 to 20 absolutely crucial minutes prior to his

      transport to the ER.

35.   To make matters worse, Dr. Wei-Ann Lin reported they decided to transport

      Zuniga in a jail transport vehicle rather than wait on EMS. In jail records,

      supervisor White confirmed his staff took Daniel to the hospital in a jail car

      because they did not want to wait (acknowledging too late that time was of

      the essence). But once they put Daniel into a jail car for transport, jail staff

      took Daniel to Ascension Seton Bastrop Hospital—10 minutes away—and

      not Seton Health Plaza, which was only 5 minutes away. Jail staff waited too

      long before rendering aid to Daniel, and once they realized their mistake in

      waiting too long, they could have and should have taken him to the closest

      medical facility.

36.   Bastrop County Sheriff’s Office Deputy Robert Clipper was chosen for the

      transport, and Clipper was told that Daniel was stable and ready for transport.

      At approximately 10:55 A.M. Clipper pulled into the transportation dock

      before going to the Medical Office where Daniel was being held. Daniel had


                                    Page 14 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 15 of 28




      to be physically loaded into the transport vehicle by Correctional Officer

      Claud Johnson. Johnson was tasked with riding in the back of the jail car to

      keep an oxygen mask on Daniel. On the way to the hospital Daniel began to

      cough up blood—a sign that a prior doctor told Diana meant that Daniel only

      had moments to live.

37.   Daniel could not breathe at 10:30 A.M. but it was not until a full hour later at

      11:30 A.M. when Daniel arrived at Ascension Seton Bastrop Hospital. He

      presented with vomited blood covering his body and he was not breathing. He

      was still handcuffed in the back of the car. Jail staff told the hospital’s doctor’s

      that Daniel had a history of “diabetes, drug abuse and throat cancer.” There

      was no mention of his Asthma or Granulomatosis—the two disabilities that

      shrunk his breathing canal.

38.   Doctors described Daniel’s condition upon arrival, saying he was “ashen” and

      in respiratory distress. Daniel became briefly lucid enough to communicate

      with the emergency doctors. He pointed to his throat, trying to communicate

      that it felt like something was stuck there. Communication was labored, and

      Daniel was covered in his own blood, barely able to speak. Daniel showed the

      medical team a clump of hard mucus he had coughed up, which Dr. Amar

      Vira said “looked like a large chunk of meat.”

39.   Dr. Vira immediately saw the severity of the situation. It was clear to him that


                                      Page 15 of 28
         Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 16 of 28




       Daniel had an unstable airway and needed to be intubated for safe

       transportation to an ICU. He first attempted a controlled RSI—a method of

       gentle intubation that is used primarily in pediatrics. However, Daniel’s

       airway was already so inflamed and swollen that it was the size of a child’s.

       Dr. Vira used a muscle relaxer to open up Daniel’s airway before trying a 7.5

       tube, but it was too large. He downsized and tried again, but Daniel started to

       wake up in distress. Dr. Vira attempted another intubation with a size 6 tube,

       which also failed.

40.    After three unsuccessful attempts to intubate, they pivoted to a Laryngeal

       mask airway (LMA), a supraglottic airway device. It is a temporary method

       to maintain an open airway during the administration of anesthesia or as an

       immediate life-saving measure in a patient with a difficult or failed airway.3

       Their options were dwindling rapidly and Daniel went into cardiac failure.

41.    CPR began, and hospital staff gave Daniel eight rounds of epinephrine and a

       round of atropine. They performed CPR for 26 minutes, and attempted to

       surgically create an airway via a tracheostomy. They cut into Daniel’s neck

       and attempted another intubation. It was simply too late when Daniel arrived,

       and hospital staff could do nothing to save Daniel’s life.



3
  National Library of Medicine, Laryngeal Mask Airway, (Feb. 4, 2022)
https://www.ncbi.nlm.nih.gov/books/NBK482184/#:~:text=Laryngeal%20mask%20airways%20(LMA)%20are,a%2
0difficult%20or%20failed%20airway. (Last accessed June 3, 2022).


                                          Page 16 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 17 of 28




42.   Doctors called time of death at 8:39 P.M. A deputy was in the room the entire

      time and he notified the Justice of the Peace. The cause of death, as listed in

      the autopsy report, was Subglottic and Posterior Glottic Stenosis Associated

      with Laryngopharyngeal Reflux Disease. The coroner noted that the

      “presentation of shortness of breath was consistent with his history and with

      previous episodes he experienced, some of which required intubation.”

43.   Daniel Zuniga was incarcerated at Bastrop County Jail for a total 125 days

      from July 31, 2019, until his untimely death on June 10, 2020. The medical

      records from his stay show that Medical Personnel knew of his disabilities,

      that the care Daniel received fell desperately short of what his doctors

      prescribed to him, that they punished Daniel for his many visits to the

      infirmary and that, ultimately, on the day he died they did not supply the

      hospital with his medical history, they did not allow him to be taken by EMS,

      they did not take him to the closest medical facility—they failed Daniel, over

      and over again.

                        V.     CAUSES OF ACTION

                       42 U.S.C. §1983 CLAIM AS TO
                            BASTROP COUNTY
                 AND BASTROP COUNTY SHERIFF’S OFFICE

44.   Plaintiff incorporates by reference all of the foregoing and further allege as

      follows:


                                    Page 17 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 18 of 28




45.   The acts and failures of Defendants on the occasion in question were

      unreasonable and were the proximate and producing cause of the injuries and

      damages suffered by the Plaintiffs. The County of Bastrop and the Bastrop

      County Sheriff’s Office is liable to Plaintiffs under 42 U.S.C. §1983 for acting

      with deliberate indifference, in failing to provide to the Medical Officers of their

      jail supervision and training regarding the appropriate treatment of an inmate

      with serious and well documented disabilities.

46.   42 U.S.C. §1983 holds that: “Every person who, under color of any statute,

      ordinance, regulation, custom, or usage, of any State or Territory or the

      District of Columbia, subjects, or causes to be subjected, any citizen of the

      United States or other person within the jurisdiction thereof to the deprivation

      of any rights, privileges, or immunities secured by the Constitution and laws,

      shall be liable to the party injured in an action at law, suit in equity, or other

      proper proceeding for redress…”. Daniel Zuniga’s Eight and Fourteenth

      Amendment rights were violated by the misconduct of the officers of Bastrop

      County Jail, officers who should have been held to a higher standard by the

      Bastrop County Sheriff’s office and Bastrop County.

47.   The County promulgates a manual for Bastrop County Sheriff officers. The

      Correctional Officers and Medical Officers are expected to know the policies

      and abide by the policies. Failure to comply with the policies should be noted


                                      Page 18 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 19 of 28




      by the Bastrop County Sheriff’s Office and supervisors, and officers should

      be disciplined accordingly.

48.   According to the Bastrop County Sheriff’s Office Health Services Plan, as

      regulated by the Texas Commission on Jail Standards Chapter 273, Section

      II:

            “Emergency medical care is available 24 hours a day. If an
            emergency beyond the capabilities of the medical staff or
            facilities of the jail arises, the inmate will be transported
            immediately to the nearest facility that has the capabilities to
            handle the emergency.” (Emphasis added). (See Exhibit B, pg.
            1).

      Daniel arrived at the infirmary at approximately 10:36 A.M., six minutes after

      his initial distress call. It wasn’t until nearly 11:00 A.M. that he was

      transported from the jail to Ascension Seton Bastrop Hospital, which was not

      the closest facility capable of emergency care. In an emergency such as

      Daniel’s, even seconds matter when it comes to medical care.

49.   Section IV of the same document states:

            “Inmates with disabilities will be evaluated by the medical staff
            to ensure adequate care and accommodations are provided.”
            (Emphasis added). (See Exhibit B, pg. 1).


      Section VIII states:

            “All examinations, treatment, and other procedures are to be
            performed in a reasonable and dignified manner and place.”
            (Emphasis added). (See Exhibit B, pg. 2).


                                    Page 19 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 20 of 28




      Daniel had several well documented disabilities that required specialized care.

      Despite these disabilities being noted in his inmate medical records and a

      letter from a physician detailing his disabilities being available to staff, Daniel

      was not allowed to complete his prescribed nasal saline rinses in a timely and

      safe fashion. Instead, Medical Officers continued to insist that he undergo

      treatment in lockdown and isolation, a situation that could prove fatal had

      Daniel experienced a medical crisis while unable to call for help. The

      complete and total lack of willingness to accommodate his disabilities is a

      flagrant disregard to his civil rights and a direct violation of U.S.C. §1983.

                MONELL DOCTRINE CLAIM AGAINST
            BASTROP COUNTY AND BASTROP COUNTY JAIL

50.   Plaintiff incorporates by reference all of the foregoing and further allege as

      follows:

51.   In Monell v. Dept of Soc. Servs., 436 U.S. 693, 701 (1978) the Court held that

      municipal corporations may be named in a USC 1983 lawsuit. Plaintiffs here

      will point to the officially adopted or promulgated policies of treatment as

      outlined in the Bastrop County Sheriff’s Office Health Services Plan, as

      regulated by the Texas Commission on Jail Standards Chapter 273, as well as

      the Medical Treatment Protocol of Bastrop County Jail and their effect on the

      named medical officer’s training failures.

52.   Plaintiffs have cited above sections IV, and VIII of the Bastrop County

                                      Page 20 of 28
           Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 21 of 28




        Sheriff’s Office Health Services Plan, showing that the regulations as written

        do not provide sufficient guidance in the treatment of inmates with

        documented medical disabilities. Plaintiffs would further cite the Medical

        Treatment Protocol of Bastrop County Jail; there are two pages—less than

        700 total words—dedicated to treatment of respiratory ailments. This

        document instructs medical officers on the treatment in cases of shortness of

        breath, asthma, tuberculosis, allergies and the common cold, amongst other

        things (See Exhibit B, pgs. 26-27).

53.     The number of individuals effected by tuberculosis in 2020 was 2.2 per

        100,000 persons4, yet the Bastrop County Jail Medical Treatment Protocol

        saw fit to dedicate over a quarter of its instruction on the treatment of

        respiratory illnesses to it. It is beyond clear that the policies and procedures in

        place for the medical care of inmates like Daniel are woefully inadequate. The

        medical officers treating Daniel may have been following protocol as closely

        as possible, but the protocol itself was deficient.

54.     In City of Canton v. Harris, the question before the Supreme Court was

        whether or not the city could be held liable under USC 1983 if the policy in

        question was not, on its face, unconstitutional (City of Canton, 489 U.S. at



4
  Deutsch-Feldman M, Pratt RH, Price SF, Tsang CA, Self JL, Tuberculosis — United States, 2020, Centers for
Disease Control and Prevention (March 26, 2021), http://dx.doi.org/10.15585/mmwr.mm7012a1 (Last visited June
8, 2022).


                                               Page 21 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 22 of 28




      383). The Court held that the city could be held liable under 1983 regardless

      of the constitutionality of the policy in question (Id. at 387). A governing

      entity—such as a city or county—may be held liable for constitutional

      violations committed by a non-policymaking employee if the policy in

      question is objectively deliberately indifferent to the likelihood of a

      constitutional violation occurring (Id. at 388).

55.   The Court indicated two ways in which Plaintiffs may show the requisite

      objective deliberate indifference—if there was an obvious need to train, or if

      a pattern of constitutional violations become apparent, the court will hold the

      city on constructive notice; and if no training, supervision or discipline is put

      in place the city would be held liable (Id. at 390). Here, Plaintiffs allege that

      there was an obvious and deadly lack of training.

56.   The Bastrop County Sheriff’s Office Health Services Plan, as regulated by the

      Texas Commission on Jail Standards and the Medical Treatment Protocol of

      Bastrop County Jail do not provide sufficient training on the handling and care

      of severely medically disabled inmates. The treating medical officer’s

      inaction and indifference constitutes a violation of the Monell Doctrine as they

      were following protocol as written, despite said protocol being inadequate.

      Their inaction and indifference was the direct and proximate cause of Daniel’s

      death.


                                     Page 22 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 23 of 28




                   AMERICANS WITH DISABILITIES ACT
                    CLAIM AGAINST BASTROP COUNTY

57.   Plaintiff incorporates by reference all of the foregoing and further allege as

      follows:

58.   Daniel Zuniga was a qualified individual with several disabilities, namely:

      Type 2 Diabetes, Gastroesophageal Reflux Disease (GERD), Wegner’s

      Granulomatosis (now known as Granulomatosis with polyangiitis),

      Pancreatitis and Asthma. These disabilities impaired his ability to function

      normally if left untreated.

59.   Bastrop County receives federal funds and has an obligation to accommodate

      individuals with disabilities that enter its jail.

60.   Here, Bastrop County knew that Daniel suffered from several disabilities that

      impacted the efficacy of his airway and required regular nasal saline rinses. In

      fact, Daniel begged Medical Officers on several occasions to allow him his

      life-saving medical treatment. On August 12, 2019, Daniel said: “I am not

      doing to well without doing my dr recommended nasal saline twice a

      day….” On August 13, 2019, he said: “Nasal saline please… I cant

      breath…”. On September 5, 2019, he said: “Im not going to be difficult but

      I still need my saline packets and bottle please… I cant instill to yall how

      important this is to me… plz help.” The day Daniel died, June 10, 2020,

      when the Medical Officer treating him observed his respiratory emergency,

                                       Page 23 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 24 of 28




      Daniel replied: “that’s why I’ve been telling y’all I need my saline.”

61.   The county and its employees knew or should have known that Daniel’s

      disabilities were documented, verified, life threatening and required

      specialized care to manage.

62.   Despite this, Bastrop County disregarded Daniel’s multiple conditions and

      failed to accommodate his disabilities. More particularly, they failed to

      provide him his physician mandated nasal saline washes in an environment

      that would not prove hazardous to his health.

63.   As a direct and proximate result of the above, Daniel Zuniga was denied a

      service or benefit to which he was entitled on the basis of his disabilities.

      Without appropriate accommodations, his conditions grew worse, leading

      ultimately to his death at only 38 years old.

       EIGHTH AND FOURTEENTH AMENDMENTS VIOLATION
       CLAIM AGAINST BASTROP COUNTY SHERIFF’S OFFICE

64.   Plaintiff incorporates by reference all of the foregoing and further allege as

      follows:

65.   Almost 50 years ago, the Supreme Court held that “deliberate indifference to

      serious medical needs of prisoners constitutes the unnecessary and wanton

      infliction of pain proscribed by the Eighth Amendment. This is true whether

      the indifference is manifested by prison doctors in their response to the

      prisoner's needs or by prison guards in intentionally denying or delaying

                                     Page 24 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 25 of 28




      access to medical care or intentionally interfering with the treatment once

      prescribed.” Estelle v. Gamble, 429 U.S. 97, 104-05, 97 S.Ct. 285, 291, 50

      L.Ed.2d 251, 260 (1976) (emphasis added) (internal quotation marks and

      citations omitted).

66.   Here, Plaintiffs allege that Defendant’s refusal to accommodate Daniel’s

      repeated requests for nasal saline washes, despite such a treatment being

      common maintenance for the disability that he was well documented as

      having, constitutes a violation of his Eighth Amendment protection against

      cruel and unusual punishment, as well as his Fourteenth Amendment

      protection against the deprivation of equal protection under the laws of this

      nation.

67.   As a direct and proximate result of the above, Daniel was not given the life-

      saving medical attention he needed. Had Daniel been allowed to use his

      medically necessary saline washes twice a day, in view of a Corrections

      Officer or Medical Officer, he would still be alive. The complete and utter

      lack of care shown towards a man that begged for even a baseline of care is

      astonishing an abhorrent. When Daniel was allowed saline rinses, he was

      made to do so in total isolation, away from anyone that would be able to assist

      should he experience a medical emergency. These flagrant violations of

      Daniel’s constitutional rights are unequivocally the direct and proximate


                                    Page 25 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 26 of 28




      cause of his death.

                              VI.       DAMAGES

68.   As the actions and omissions of Defendants, their agents, employees, and/or

      representatives, proximately caused and/or were the moving force of the

      injuries and damages to Plaintiffs and were the moving force of the wrongful

      death of Daniel Zuniga Jr., Deceased, Plaintiffs assert claims under the 42

      U.S.C. § 1983 and the wrongful death and survivorship statutes as specifically

      pled herein.

69.   More particularly, Plaintiffs, in their capacity as heirs at law, assert a survival

      claim on behalf of the estate of Daniel Zuniga Jr., which has incurred damages

      including, but not limited to, the following:

         •   Conscious pain and suffering;

         • Past and future mental anguish;

         • loss of consortium;

         • funeral and/or burial expenses;

         •   attorneys’ fees and costs pursuant to 42 U.S.C. §1988, or as allowed

             by law.

                VII.        ATTORNEY’S FEES AND COSTS

70.   Pursuant to 42 U.S.C. § 1988, Plaintiffs are entitled to recover attorneys’ fees

      and costs including litigation costs and expert fees, and so claim.


                                      Page 26 of 28
        Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 27 of 28




                          VIII.     JURY DEMAND

71.   Plaintiffs respectfully demand a trial by jury.



                                     PRAYER

      WHEREFORE, Plaintiffs pray that Defendants be cited according to law to

appear and answer herein, and that upon final trial, Plaintiffs have judgment against

Defendants as follows:

             1.    Award compensatory damages against Defendants;

             2.    Find that Plaintiffs are the prevailing parties in this case and

                   award them attorneys’ fees, court costs, and litigation expenses

                   including but not limited to expert fees under 42 U.S.C. §1988

                   and/or Tex. R. Civ. P. 131;

             3.    Award pre-judgment and post-judgment interest at the highest

                   rate allowable under the law; and

             4.    And other relief the Court determines is just under the
                   circumstances.




                                     Page 27 of 28
Case 1:22-cv-00559-LY Document 1 Filed 06/08/22 Page 28 of 28




                     Respectfully submitted,




                     By:

                     L. JAMES WOOD
                     Texas Bar No. 24076785
                     james@lineofdutylaw.com


                     THE JAMES WOOD LAW FIRM, PLLC
                     500 W. 2nd Street, Suite 1900
                     Austin, Texas 78701
                     P:      512.692.9266
                     F:      512.686.3152
                     W:      jwoodlegal.com
                     CC:     natalie@lineofdutylaw.com

                     E-File Service Address:
                     eservice@lineofdutylaw.com
                     ATTORNEY FOR
                     PLAINTIFFS




                           Page 28 of 28
